Case 2:11-cv-06736-CCC-JAD Document 1-1 Filed 11/15/11 Page 1 of 12 PagelD: 4

EXHIBIT A
 

 

 

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SPECIAL CIVIL PAR

  

Plaintiff or Plaintif’s Att

 
 
    
  
 
  

Address:

209 Main Street_
Fort Lee, NJ, 07024 °

Telephone No.: @01

 

    

 

 

 

 

 

 

» Plaintiff(s) | _ Jersey City, New Jersey 07308
versus 7 : 01) 795 -6
Penncro Associates, Inc. ~ DC-021033-11
, Defendant(s) Docket No:
(to be provided by the court)
Civil Action
SUMMONS

(Cirele one): [Xj Contract or [] Tort

Defendant(s) Information: Name, Address & Phone:

ine.
PO Box 538, Oaks, PA 19456

 

 

 

Date Served: 10/07/2011
RETURN OF SERVICE IF SERVED BY COURT OFFICER (For Court Use Only)

 

 

 

Docket Number: Date: Time:
WM___WF___ BM___BF__OTHER__HT_" WT. AGE MUSTACHE_____ BEARD GLASSES
NAME: RELATIONSHIP:

Description of Premises:

 

 

Thereby certify the above to be true and accurate:

Court Officer

 

RETURN OF SERVICE IF SERVED BY MAIL (For Court Use Only)

1, Ryan Murray, hereby certify that on 10/07/2011, I mailed a copy of the within summons and complaint by regular and certified mail,
return receipt requested,

 

 

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led 11/15/14

   
   
 
   
    
 

 

 

The Law Offi of ‘Matthew E ‘Rose

  

(201 482-8111 - “Telephone ext, B
(201) 482-8190 - Facsimile. :

 

 

Yaakov Saks, of full age, hereby certifi ps as follows: :
1. Defendant Pennero Associates, Inc. located at PO Box: 538, Oaks, PA 19456.

2. Defendant Penncro Associates, Inc. does not have an address in New Hersey. but

 

is subject to jurisdiction in New Jersey since it does business in the State. .

 

_ Certification
I certify that the foregoing staternents made by me are true. | am aware that if any of the

foregoing statements made by me are willfully false, I am, subject to ptinishment.
‘Date: _( 4 2i / Lol Signature: 7 AZ

Lew Sely

 

 
  

 

      
   
  
 
  

Case 2:11-cv-06736-CCC

The Law Offices of Mai
209 Main Street 2" Flooy
Fort Lee, NJ, 07024

(201 482-8111 +- Telephone

+ (201) 482-8190i—Facsin
Attorneys for Plaintiff

-JAD

 

 

Andy Moran
Plaintiff,

Vv

Penncro Associates, Inc.,
Defendant(s).

 

 

Yaakov Saks Esq.

Docket No. DC-021033-11

PLAINTIFF’S COMPLAINT

 

 

 
 

    

CC. JAD... Document.1-1....Filed 11/15/11

 

“EDCPA, : 15, U. S.C. § 1692(0) ag against debt collector Samer Assoviates, Inc.

 

This is an action for invasion of privacy against defendant Pennero Associates,

Inc.

Parties
Plaintiff, Andy Moran, is an adult residing in Hudson County, New Jersey.
Defendant Penncro Associates, Inc. is located at PO Box 538, Oaks, PA 19456.
Defendant Penncro ASaociniess Inc. is a “debt collector” as defined by the
FDCPA, 15 U.S.C, § 1692a (6).
Plaintiffs a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (3).

Factual Allegations

Penncro Associates, Inc. attempted to collect a debt that falls within the :
definition of “debt” for purposes of 15 U.S.C. § 1692a(5).

In its letter to Plaintiff, Penncro Associates, Inc. stated that Plaintiff's “account

 

has been referred to” their office “for collection.”

 
 

   

the original creditor.

10. Defendant Penncro Associates, Inc, is iis
indeed any debt exists. ae

11. In its letter to Plaintiff, Defendant Pennero Asbbciates: Inc. listed a dentate
amount due,” giving the misleading and false impression that Plaintiff could
bring their account into good standing by paying the mini uM amount.

| 12. Penncro Associates, Inc. repeatedly made harassing calls to Plaintiff during

their collection efforts.

13. Plaintiff was caused mental suffering and shame as a result of receiving
repeated and continuous harassing telephone calls from Penncro Associates,

Inc,

Claims for Relief

 

The FDCPA 15 U.S.C. § 1692j(a) states that it is unlawful to design, compile, and
furnish any form knowing that such form would be used to create the false belief in a
consumer that a person other than the creditor of such consumer is participating in the
collection of or in an attempt to collect a debt such consumer allegedly owes such
creditor, when in fact such person is not so participating. Penncro Associates, Inc.’s
initial contact letter was written to obfuscate and to deceive the consumer as to whether

FIA Card Services N.A. still owned this debt. The letter states that Plaintiff's “account

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“has been referred to” their office “for collection.” Furtherm
‘amount due,” also included in the letter, suggests that the acco)

“s Card Services, N.A. and can be brought f into good standing by

 

~ amount listed. An average consumer, let “ios the least sophistiated consumes, roule
be deceived by this letter, as was intended, :
Additionally, Penncro Associates, Inc. is liable under FDCPA 15 U. S.C. § | |
1692e(2) for misrepresenting the amount owed on the alleged debt and for misleading |
Plaintiff to believe that he could bring his account into good standing by paying the
“minimum amount due” listed in Penncro Associates, Inc.’s letter.
Penncro Associates, Inc. made harassing calls to Plaintiff during their collection
efforts in violation of FDCPA 15 U.S.C, § 1692d(5).
Penncro Associates, Inc. invaded Plaintiff's right of privacy by placing repeated
| and continuous telephone calls to Plaintiff that would be considered highly offensive to a
reasonable person, As a result of Penncro Associates, Inc.’s harassing communications,
Plaintiff was caused shame, mental suffering, headaches and loss of sleep. |
As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff
for actual damages, statutory damages which can be up $1,000, and costs and attorneys
fees. As a result of invading Plaintiff's privacy, Penncro Associates, Inc. is liable for
actual damages.
Wherefore, Plaintiff respectfully submits that judgment in the sum of $15,000 be
entered against Defendants for the following:
A. Actual Damages resulting from the drop in Plaintiff's credit score, and

Plaintiff's inabitity to continue Plaintiff's normal way of life.

 

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Page.8.of.12

 

 

Page|):

 

 

B. Actual Damages resulting from Plaintif?
. Actual Damages resulting from a denial ‘of

due to the negative credit reporting. :

D. Actual damages in the form of emotional dama
anxiety placed upon Plaintiff as a result of Defendant 3

E. Actual damages in the form of headaches, loss of sleep, shame, and mental
suffering for the stress and anxiety suffered by Plaintiff from the invasion
of Plaintiff's privacy.

F. Statutory Damages pursuant to 15 U.S.C. § 1692(k) up to $1000.

G. Filing and attorneys fees.

Ht. For such other and further relief as may be just and proper.

Respectfully submitted, The Law Offices of Matthew E. Rose, Esq. P.C.
Attorneys for Plaintiff
Andy Moran ,

By:__Yaakov Saks September 19, 2011

  
 
 

Rule 4:51-1 Certification

The undersigned attorneys for the plaintiff certify that the matter in controversy is
not the subject of any other action pending in any Court or a pending arbitration
proceeding, nor is any other action or arbitration proceeding contemplated. I certify that
confidential person identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with
Rule 1:38-7b.

Certification

I certify that the foregoing statements made by me are true. I am aware that if any of the

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foregoing statements made by me are willfully false, I

Date: o 7 Lf a(/ Signature:

 
 
  
 
  

 
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IF YOU WANT THE COURT TO HEAR YOUR SIDE OF THIS WSUIT, YOU MUST

FILE A WRITTEN ANSWER WITH THE COURT WITHIN 35 DAYS OR THE COURT
- MAY RULE AGAINST YOU, READ ALL OF THIS PAGE AND THE NEXT PAGE FOR
DETAILS.

In the attached complaint, the person suing you (who is called the plaintiff) briefly tells the court his or her
version of the facts of the case and how much money he or she claims you owe. You are cautioned that if you do
not answerithe complaint, you may lose the case automatically, and the court may give the plaintiff what the
plaintiff is asking for, ptus interest and court costs. If a judgment is entered againat you, a Special Civil Part
Officer may seize your money, wages or personal property to pay all or part of the judgment and the judgment is
valid for 20 years.

You can do one or more of the following things:

'
1. Answer the complaint. An answer form is available at the Office of the Clerk of the Special Civil Part.
The answer form shows you how to reapond in writing to the claims stated in the complaint. If you decide to
answer, you must send it to the court's address on page 2 and pay a$ 15.00 filing fee with your answer and
send a copy of the answer to the plaintiff's lawyer, or to the plaintiff if the plaintiff does not have a lawyer, Both of
thesa steps must be done within 35 daye (including weekends) from the date you were “served” (sent the
complaint). That date is noted on the next page.
i
j AND/OR
|
2. Resolve the dispute. You may wish to contact the plaintiff's lawyer, or the plaintiff if the plaintiff does
not have a lawyer, to resolve this dispute. You do not have to do this unless you want to. This may avoid the
entry of a judgment and the plaintiff may agree to accept payment arrangements, which is something that cannot

be forced by the court. Negotiating with the plaintiff or the plaintiff's attorney will not stop the 85 day period for
filing an angwer unless a written agreement is reached and filed with the court.

AND/OR

3. Geta lawyer, If you cannot afford to pay for a lawyer, free legal advice may be availsble by contacting

Legal Services at (201) 792-6363 . If you can afford to pay a lawyer but do not know one, you may

cal] the Lawyer Referral Services of your local connty Bar Association at (201) 798-2727

If you need an interpreter or an aceommoedation for a disability, you must notify the court immediately.

| La traduccién al espafiol se encuentra al dorso de

 
  
   

 

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Appendix XI-A(). HotDocs www.aslagal.cam 800.222.0510 Page !

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EL TRIBUNAL SUPERIOR DE NUEVA JI
Division de Derecho, Parte Civi Especial :

 

NOTIFICACION DE DEMANDA

 

   

ILE ESTAN HACIENDOJUICION = ,
SI UD. QUIERE QUE EL TRIBUNAL YEA SU VERSION DE ESTA CAUSA, TIENE
QUE PRESENTAR UNA CONTESTACION ESCRITA EN EL TRIBUNAL DENTRO DE
UN PERIODO DE 35 DIAS 0 BS POSIBLE QUE EL TRIBUNAL DICTAMINE EN SU
CONTRA. PARA LOS DETALLES, LEA TODA ESTA PAGINA Y LA QUE SIGUE, -

En la demanda adjunta, Ja persona que le esté haciendo juicio (que s¢ llama el demandants) da al juez au
version breve de log hechos del caso y la suma de dinero que alega que Ud, Je debe. Se le advierte que si Vd. no
contesta la demanda, es posible que pierda la causa autométicamente y el tribunal dé al demandante lo que
pide ms intereses y costas, Si se registra una deciaién en su contra, es posible que un Oficial de la Parte Civil
Especial (Special Civil Part Officer) embargue su dinero, salario o bienes muebles para pagar toda o parte de la
adjudicacién, y la aijudicaci6n tiene 20 afios de vigencia.

Usted puede escoger entre las siguientes opciones;

1. Contestar ia demanda. Puede conseguir m formulario de contestacién en la Oficina de} Secretario dela
Parte Civil Especial. El formulario de contestacién le indica c6mo responder por escrito a las alegaciones
expuestas en la demanda. Si Ud. decide contestar, tiene que enviar su contestacién a la dereccién del tribunal que
figura en la pagina 2, pagar un gaste de iniciacién de la demanda de $ 16.00 ddlares y enviar una copia de
la contestacion al shogado de} demandante, o al demandante si el demandante no tiene abogado. Tlene 35 @ias
(que ineluyen fines de semana) para hacer los trémites a partir de la fecha en que fue “notifieado” (le enviaron la
demanda). Esa fecha se anota en la pagina que sigue,

ADEMAS, 0 DE LO CONTRARIO, UD. PUEDE

2. Resolver ba dispute. Posiblemente Ud. quiera comunicarse con ¢] abogado de} demandante, o el
demandante si e] demandante no tiene abogado, para resolver esta disputa, No tiene que hacerlo si no quiere.
Keto puede evitar que se registre una adjudicacién y puede ser que el demandante esté de acuerdo con aceptar un
convenio de pago Jo cual es algo que el juez no puede imponer. Negociaciones con el demandante o el abogado del
demandante ino suspender4n e] término de 35 dias para registrar una contestacién a menos que se legue a un
acuerdo eserito que se registra en el tribunal.

ADEMAS, 0 DE LO CONTRARIO, UD. PUEDE

3. Conseguir un abogado. Si Ud. no tiene dinero para pagar a un abogado, es posible que pueda recibir
consejos legales gratuites comunicéndose con Servicios Legales (Legal Services) al (201) 792-6363 __ Si tiene
dinero para pagar 3 un abogado pero no conoce ninguno pueda Jlamar a Servicios de Recomendacién de Abogados
(Lawyer Héferral Services) del Colegio de Abogados (Ber Association) de su condado local al

(201) 798-2727
!

  
 

Si necesita un intérprete o alguna acomodacién para un impediments, tiene
tribunal.

ar

Secretario de la Parte Civil Especial

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| TRIAL ADJOURNMENT PROCEDURE
FOR HUDSON COUNTY
~ Until further notice, the following procedure is to be followed wh

‘ of a scheduled trial date in the Superior Court, Law Division Civi Special Civil Part.

  
 
  

~ Any request for an adjournment in the Law Division Civili is to Be made i in writing or.
» [201) 217:5249), addressed to Antoinette Outwater, Civil Division Manager, attention
’ Pignatelli, iTrial Calendar Coordinator, 583 Newark Avenue, Jersey City, New Jersey, 07306, -
For a trial date scheduled in the Special Civil Part, the adjournment : request is to be directed to |
“Rupert Haller, Assistant Civil Division Manager, Special Civil, again in writing or by PAX
\ [(201} 795-6053]. Requests are to include the following information:

a) Name of case and docket number;

b) Scheduled trial date;

c) Name of party requesting the adjournment,

d) The specific reason(s) for the adjournment; and

e) A representation to the court that the requesting party has informed all other parties
of the request for adjournment.

The party requesting the adjoumment should first contact all adversaries advising them of the
trial readiness probletn and attempt to reach an agreement as to when all parties will be ready to
proceed with the trial not later than 30 days after the date presently scheduled. This will require
all involved persons to contact their respective clients and witnesses. The requesting party
should advise in the letter requesting the adjournment that he/she has conversed with all other
parties and that they have or have not consented to the adjournment request and/or have or have
not apreed|upon a new trial date.

‘No one should assume that the adjournment request will be granted. Adjournments shall be
confirmed or denied by the court by telefax or telephone communication to the party who
requested the adjoumment, For your information, your request for any adjournment wilt be
initially acted upon by a court staff person. If you are aggrieved by the determination that
is made, you should then request that your application be presented to the Presiding Judge
for consideration. In that event, the Presiding Judge will make the ultimate decision on
your adjournment request and you will be advised accordingly. It shall then be the
obligation jof the requesting party to timely advise all other parties whether the adjournment
request was granted or denied and, if granted, to advise of the new trial date fixed by the court.

All requests for adjournments are to be made as soon as possible after receipt of the
scheduled! trial date, Except for those situations in which emergent problems arise at the
last minute, no request for an adjournment will be entertained if received later than 12:00
noon on the Wednesday preceding the scheduled trial date.

Ifan attomey is designated as trial counsel and is actually in trial elsewhere in the Superior
Court, Hudson County will mark its case Aready hold=, subject to counsel’s trial availability.
Likewise, if an attorney is designated as trial counsel and is scheduled for trial on an older case
on the same day but in a different county, then Hudson County will mark its case Aready hold=,
subject to counsel’s disposition of the older case.

Effective: May 2003 (revised 03/04/09) Peter Bariso, J.S.C.

 
 

 

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